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                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION


QUARTZ AUTO TECHNOLOGIES LLC,

              Plaintiff,

       v.                                             Case No. 6:20-cv-00126-ADA

UBER TECHNOLOGIES, INC.,

              Defendant.



                ORDER GRANTING DEFENDANT’S MOTION DISMISS

       After consideration of Defendant Uber Technologies, Inc.’s Motion to Dismiss pursuant to

Rules 12(b)(6), the Court finds that the Motion to Dismiss should be GRANTED.

       IT IS THEREFORE ORDERED that Defendant’s Motion to Dismiss is hereby granted.
